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United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF NEW YORK

Case number (if known) Chapter 11

L Check if this an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Insource Supplies LLC

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4, Debtor's address Principal place of business Mailing address, if different from principal place of
business
200 East 79th Street, No. 9B 252 South Street, No. 69E
New York, NY 10075 New York, NY 10002
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
New York Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL) —InsourceSupplies.com

6. Type of debtor XX] Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
C] Partnership (excluding LLP)

CL] Other. Specify:

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case number (if known)

Debtor —_Insource Supplies LLC
Name
7. Describe debtor's business A. Check one:

WOOOOOO

B. Check all that apply
LJ Tax-exempt entity (as described in 26 U.S.C. §501)

J] Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
(C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Railroad (as defined in 11 U.S.C. § 101(44))

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://www.uscourts.gov/four-digit-national-association-naics-codes.

4234
8. Under which chapter ofthe Check one:
Bankruptcy Code is the [1 Chapter 7
debtor filing?
A debtor who i ll U1 Chapter 9
ebtor who is a “sma .
business debtor” must check XJ Chapter 11. Check all that apply:
the first sub-box. A debtor as (] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
defined in § 1182(1) who noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
elects to proceed under $3,024,725. lf this sub-box is selected, attach the most recent balance sheet, statement of
subchapter V of chapter 11 operations, cash-flow statement, and federal income tax return or if any of these documents do not
(whether or not the debtor is exist, follow the procedure in 17 U.S.C. § 1116(1)(B).
a “small business debtor") The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
must check the second debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
sub-box. roceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
p p
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
(1 Aplan is being filed with this petition.
(1 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
(1 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
[1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
[] Chapter 12
9. Were prior bankruptcy X] No.
cases filed by or against T1 Yes.
the debtor within the last 8
years?
If more than 2 cases, attach a
separate list. District When Case number
District When Case number
10. Are any bankruptcy cases [Xx] No
pending or being filed bya [] Yes.
business partner or an
affiliate of the debtor?
List all cases. If more than 1,
attach a separate list Debtor Relationship
District When Case number, if known

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 2
Debtor —_Insource Supplies LLC

Case number (if known)

Name

11. Why is the case filed in
this district?

Check all that apply:

J Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

[1] Abankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

XX No

Li Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

L] It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

1] It needs to be physically secured or protected from the weather.

[] It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

(] Other

Where is the property?

Is the property insured?

L] No

C1 Yes. Insurance agency
Contact name

Phone

Number, Street, City, State & ZIP Code

[teed Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:

IX Funds will be available for distribution to unsecured creditors.

C After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of XX 1-49 1 1,000-5,000 CL 25,001-50,000
creditors [_] 50-99 LJ 5001-10,000 (1 50,001-100,000
L] 100-199 1 10,001-25,000 CJ More than100,000
LJ 200-999
15. Estimated Assets (_] $0 - $50,000 XX] $1,000,001 - $10 million CJ $500,000,001 - $1 billion

CJ $50,001 - $100,000
CL] $100,001 - $500,000
CL] $500,001 - $1 million

(J $10,000,001 - $50 million
C1 $50,000,001 - $100 million
CJ $100,000,001 - $500 million

1 $1,000,000,001 - $10 billion
CZ $10,000,000,001 - $50 billion
CJ More than $50 billion

16. Estimated liabilities

D $0 - $50,000

O $50,001 - $100,000
OO $100,001 - $500,000
( $500,001 - $1 million

BI $1,000,001 - $10 million

1 $10,000,001 -$50 million

1 $50,000,001 - $100 million

O $100,000,001 - $500 million

1 $500,000,001 - $1 billion

0 $1,000,000,001 - $10 billion
0 $10,000,000,001 - $50 billion
OJ More than $50 billion

Official Form 201

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 3
Debtor

Insource Supplies LLC

Name

Fl Request for Relief, Declaration, and Signatures

Case number (if known)

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on April 1, 2024

(DD/IYYYY

Signatur” of authorized representative of debtor

Title Managing Member

Eli Bensoussan

Printed name

18. Signature of attorney

Official Form 201

x

Signatufé 6f attorney fordebtor

Kevin Nash

Date _ April 1, 2024

MM/DD/YYYY

Printed name

Goldberg Weprin Finkel Goldstein LLP

Firm: name

125 Park Ave
New York, NY 10017-5690

Number, Street, City, State & ZIP Code

Contact phone Email address

NY

knash@gwiglaw.com

Bar number and State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

page 4
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re: Chapter 11/Subchapter V
Insource Supplies LLC, Case No.

Debtor.
-X

COMPANY RESOLUTION OF INSOURCE SUPPLIES LLC

WHEREAS, at a special meeting of the Members and Managers of Insource Supplies LLC
(the “Company”) held on April 1, 2024 and after motion duly made and carried, it was:

RESOLVED, that the Company is authorized to file for relief under the Small Business
provisions of Chapter 11 (Subchapter V) of the Bankruptcy Code in the United States
Bankruptcy Court for the Southern District of New York; and it is further

RESOLVED, that Eli Bensoussan is hereby authorized, directed and empowered to execute
and deliver, on behalf of the Company, all petitions, declarations and other documents, and
to do all such other things on behalf of the Company as may be required in connection with
the Chapter 11 proceeding; and it is further

RESOLVED, that the Company is authorized to retain the firm of Goldberg Weprin Finkel
Goldstein LLC as its bankruptcy counsel.

Dated: New York, NY
April 1, 2024

Insource Supplies LLC

By:

Nanyé Eff Bensoussan
Title? Managing Member
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re: Chapter 11/Subchapter V

Insource Supplies LLC, Case No.

Debtor.

Xx

DECLARATION OF ELI BENSOUSSAN PURSUANT
TO LOCAL BANKRUPTCY RULE 1007-2

Eli Bensoussan declares the following under penalties of perjury pursuant to 28

ULS.C. §1746:

1. I am the managing member of Insource Supplies LLC (the “Debtor” or the
“Company”), and as such, I am fully familiar with the facts and circumstances set forth herein.

2. I respectfully submit this Declaration in support of the Debtor’s commencement of
a case under the Small Business Reorganization Act and Subchapter V of Chapter 11 of the U.S.
Bankruptcy Code. The purpose of this Declaration is to provide pertinent information regarding
the circumstances prompting the bankruptcy filing and the Debtor’s strategies for reorganization.

Salient Events Leading up to the Chapter 11 Filing

3. The Debtor is a medical supply company operating mainly in the secondary market.
The Company was first organized in 2020 and was able to immediately capitalize on the demand
for personal protective equipment (“PPE”) (i.e., gloves and masks) arising out of the Covid-19
pandemic. The Company’s revenues quickly grew to approximately $12.364 million by 2021, but
revenues have since declined considerably to approximately $1.0 million in 2023 because the
Debtor was unable to obtain exclusive distribution contracts from area hospitals and medical

providers.
4, Forsaking contract work, the Debtor attempted to reposition its business to
providing emergency procurements to fill gaps in medical supplies needed by hospitals and
medical providers on an ad-hoc basis. The Debtor believes that this revised business model will
enable the Company to increase gross annual sales in conjunction with a new sales relationship
with Astor Pharmaceutical LLC (“Astor”).

DF At this point in time, the Debtor lacks liquidity and does not have available cash to
fulfill pending orders of approximately $781,000, the largest one being an order from DDS Supply
for 1,040 cases of Cavi Wipes (disinfectant wipes).

6. Going forward, the Debtor will essentially act as an independent sales agent for
Astor under a written agreement, with Astor purchasing the goods to complete the Debtor’s orders
based upon a 50%-50% sharing of net profits (i.e., sales price of goods minus costs of goods sold).
Another benefit is that Astor pays for all operating expenses such that the Debtor’s share of profits
does not require payment for any of these items, which constitutes a significant savings.

7. Based upon this new arrangement, the Debtor can concentrate on generating new
sales without being burdened with overhead expenses. The Debtor projects that the relationship
with Astor will yield net bottom line profits of about $50,000 per month.

8. Over the last two years, the Debtor financed its operations with CF Bank National
Association (“CF Bank”) under a revolving credit line in the principal sum of $1.5 million at an
interest rate of prime plus two (2%) percent.

9. Due to diminished revenues, however, the Debtor became delinquent under its
credit line and has exhausted all availability. For more than a year’s time, the Debtor was able to
pay monthly interest of $127,500 prior to the start of defaults earlier this year in February 2024.

CFBank quickly instituted a collection and enforcement action in the Court of Common Pleas,
Summit County, Ohio (Columbus, OH) and obtained an Order directing the appointment of a
Receiver effectively on default without proper service on the Debtor.

10. The involvement of the Receiver would ruin any opportunity to develop a new
business relationship with Astor. Accordingly, the decision was made to seek Chapter 11 relief in
order to preserve the Debtor’s business options while efforts are undertaken to restructure the
CFBank working capital loan.

11. The Debtor anticipates that issues will arise concerning whether pending orders
from customers prior to delivery constitute eligible receivables under the Debtor’s borrowing base
from CF Bank. The Debtor was advised by its pre-bankruptcy general counsel that invoiced orders
were eligible receivables under the borrowing base, although upon further review it appears that
this might not be the case. For purposes of bankruptcy, the Debtor has separated shipped invoices
from pending orders prior to delivery and the Debtor has also voided any pending order that cannot
be fulfilled even under the new relationship with Astor.

12. Even before the relationship with Astor, the Debtor ended its sublease and closed
its New Jersey warehouse. Moreover, the Debtor has reduced its workforce to less than a handful
of 1099 employees and currently operates out of my residence in New York City.

13. The Debtor is a pass-through tax entity with all income and losses comprising part
of my individual 1040 personal tax returns.

Local Rule 1007-2 and Subchapter V Disclosures

14. Pursuant to Local Rule 1007-2(a)(2) and (3), no committees were formed prior to
the filing of the Petition.

15. Pursuant to Local Rule 1007-2(a)(4), a full set of schedules is being filed herewith,
including the names and addresses of all creditors.

16. Pursuant to Local Rule 1007-2(a)(5), the Debtor’s sole secured creditor is CFBank.
3
Insource Supplies, LLC

Profit and Loss
January - December 2023

TOTAL

Income
Billable Expense Income 590.00
Sales 1,052,828.09
Sales of Product Income 64,280.88

Total Income

Cost of Goods Sold
Commission
Cost of Goods Sold
Purchases
Shipping
Total Cost of Goods Sold
GROSS PROFIT

Expenses
Advertising & Marketing
American express payments
Bank Charges & Fees
Car & Truck
Communication
Computer/IT Services
Contractors
Credit Card Processing Fees
Dues & Subscriptions
Insurance
Interest Paid
Legal & Professional Services
Meals & Entertainment
office expense
Office Supplies & Software
Other Business Expenses
Payroll Expenses
Taxes
Wages
Total Payroll Expenses

Payroll Processing Fees

Reimbursable Expenses

Taxes & Licenses

Transportation

Travel

Uncategorized Expense
Total Expenses

NET OPERATING INCOME

Accrual Basis Tuesday, March 26, 2024 04:34 PM GMT-04:00

$1,117,698.97

3,728.00
957,282.05
100.00
8,570.14
$969,680.19

$148,018.78

5,000.00
305,249.00
7,001.71
11,973.00
3,112.38
742.50
50,586.35
1,054.85
700.00
59,443.74
101,149.71
252,720.60
10,279.22
84,000.00
1,005.05
288,963.92
37,637.73
7,723.76
161,618.14
206,979.63

2,263.52
314,336.86
142,837.65

2,314.78

28,359.44

1,209.79

$1,881 ,283.70

$ -1,733,264.92
Insource Supplies, LLC

Profit and Loss
January - December 2023

TOTAL

Other Income
Interest Earned 2,700.65
Total Other Income $2,700.65
NET OTHER INCOME $2,700.65
NET INCOME $ -1,730,564.27
2/2

Accrual Basis Tuesday, March 26, 2024 04:34 PM GMT-04;00
Insource Supplies, LLC

Balance Sheet
As of March 26, 2024

TOTAL
ASSETS
Current Assets
Bank Accounts
CF Bank #1328 50.89
CF Bank #1336 0.00
CHASE 0.38
CHASE BUS PREM SAV (5295) - 2 0.00
PLAT BUS CHECKING (5710) 0.00
PLAT BUS CHECKING (7728) - 2 -1,962.25
SAVINGS (7675) 0.00
Total Bank Accounts $ -1,910.98
Accounts Receivable
Accounts Receivable (A/R) 445,797.52
Total Accounts Receivable $445,797.52
Other Current Assets
Exchange 0.00
Inventory Asset 54,679.80
Loan Cebo Decor 15,000.00
Repayment
Advance Repayment 0.00
Total Repayment 0.00
Undeposited Funds 0.00
Total Other Current Assets $69,679.80
Total Current Assets $513,566.34

TOTAL ASSETS $513,566.34

Insource Supplies, LLC

Balance Sheet
As of March 26, 2024

TOTAL
LIABILITIES AND EQUITY
Liabilities
Current Liabilities
Accounts Payable
Accounts Payable (A/P) 361,767.62
Total Accounts Payable $361,767.62
Other Current Liabilities
Accrued Expense 0.00
CF Bank LOC #5192 1,498,104.89
Customer Deposits 29,747.32
Direct Deposit Payable 0.00
Loan - Level 8 0.00
Loan Payable - American Express 12,550.00
Loan Payable DASHCORP 261,379.00
Payroll Liabilities
Federal Taxes (941/944) 10,528.74
Federal Unemployment (940) 882.00
FL Unemployment Tax 378.00
IL Income Tax 1,237.50
NJ Income Tax 0.00
Total Payroll Liabilities 13,026.24
Total Other Current Liabilities $1,814,807.45
Total Current Liabilities $2,176,575.07
Long-Term Liabilities
Other Long Term Liabilities 0.00
Shareholder Loan 0.00
Total Long-Term Liabilities $0.00
Total Liabilities $2,176,575.07
Equity
Opening Balance Equity 57,866.50
Retained Earnings -1,868,945.91
Shareholder Distributions 35,245.50
Charity Direct Payments To 0.00
Medical and Dental -8.14
Shareholder 3713 Bendemeer 0.00
Total Shareholder Distributions 35,237.36
Net Income 112,833.32
Total Equity $ -1,663,008.73
TOTAL LIABILITIES AND EQUITY $513,566.34

Accrual Basis Tuesday, March 26, 2024 04:34 PM GMT-04:00
Insource Supplies, LLC

Profit and Loss
January 1 - March 26, 2024

TOTAL
Income
Billable Expense Income 1,770.00
Sales 164,108.32
Sales of Product Income 31,504.00
Uncategorized Income 738.17
Total Income $198,120.49
Cost of Goods Sold
Commission 250.00
Cost of Goods Sold 18,931.43
Shipping 241.98
Total Cost of Goods Sold $19,423.41
GROSS PROFIT $178,697.08
Expenses
Bank Charges & Fees 596.93
Communication 860.22
Contractors 7,300.00
Credit Card Processing Fees 276.62
Insurance 1,585.02
Interest Paid 1,205.37
Legal & Professional Services 14,050.00
Meals & Entertainment 2,814.33
Office Supplies & Software 303.86
Other Business Expenses 27,831.90
Payroll Expenses 126.30
Payroll Processing Fees 126.30
Transportation 7,674.68
Travel 1,112.23
Total Expenses $65,863.76
NET OPERATING INCOME $112,833.32
NET INCOME $112,833.32

Accrual Basis Tuesday, March 26, 2024 04:33 PM GMT-04:00
17.

Pursuant to Local Rule 1007-2(a)(6), a current balance sheet is being filed herewith

on an accrual basis. The company’s 2023 profit and loss statement, which is prepared on a cash

basis, is also attached.

18.

19,

Court.

20.

21.

Pursuant to Local Rule 1007-2(a)(7), I am the sole member of the Debtor.

Pursuant to Local Rule 1007-2(a)(8), a Receiver was recently appointed by the Ohio

Pursuant to Local Rule 1007-2(a)(9), the Debtor does not own any real estate.

Pursuant to Local Rule 1007-2(a)(10), the Debtor’s books and records are

maintained at my home in New York City.

22.

23.

Pursuant to Local Rule 1007-2(a)(11), a schedule of pending lawsuits is attached.

The Debtor anticipates a limited payroll under its arrangement with Astor, plus my

reduced salary of $3,000 per week.

24.

Attached hereto is a business projection based upon the Debtor’s anticipated new

relationship with Astor.

Dated: New York, NY
April 1, 2024 Ai?

€ Eli Bensoussan
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re: Chapter 11/Subchapter V
Insource Supplies LLC, Case No.
Debtor.
x
LIST OF EQUITY HOLDERS
Eli Bensoussan 100% Member

Dated: New York, NY
April 1, 2024

Insource Supplies LLC

By:

Nam: Eli Bensoussan
Title: Managing Member
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re: Chapter 11/Subchapter V
Insource Supplies LLC, Case No.

Debtor.

RULE 7.1 CORPORATE OWNERSHIP STATEMENT.

Pursuant to Federal Rule of Civil Procedure 7.1, Insource Supplies LLC, certifies
that it is a private non-governmental party, and has no corporate parent, affiliates and/or
subsidiaries which are publicly held.

Dated: New York, NY
April 1, 2024
Insource Supplies LLC

Napfe: Eli Bensoussan
Title: Managing Member

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re: Chapter 11
Insource Supplies LLC, Case No. /Subchapter V

Debtor.

X

LIST OF PENDING LAWSUITS

1, Title: CFBank National Association v. Insource Supplies LLC and Elisha Bensoussan

Court: Court of Common Pleas of Summit County, Ohio
Case No. CV2024-02-0868

Nature of Suit: Breach of contract

Attorney for the Plaintiff: _ Daniel A. Yarmesch, Esq.
Kemp, Schaeffer & Rowe Co. L.P.A.
88 West Mound Street
Columbus, OH 43215
614-224-2628

2. Title: H. Crimson Inc. v. Insource Supplies LLC and Eli Bensoussan

Court: Supreme Court of the State of New York, County of New York
Index No. 650679/2021

Nature of Suit: Breach of contract

Attorney for the Plaintiff: Harlan M. Lazarus, Esq.
Lazarus & Lazarus, P.C.
240 Madison Avenue, 8" Floor
New York, NY 10016
212-889-7400
Title: Unitedhealthcare Services, Inc. v. Insource Supplies LLC

Court: Supreme Court of the State of New York, County of New York
Index No. 653397/2023

Nature of Suit: Breach of contract

Attorney for the Plaintiff: | Vitaly Vilenchik, Esq.
Hinshaw & Culbertson LLP
800 Third Avenue, 13" Floor
New York, NY 10022
212-655-3802

Title: Acme Paper & Supply Co., Inc. v. Insource Supplies LLC

Court: Maryland Circuit Court for Howard County
Index No. C-13-CV-23-000066

Nature of Suit: Breach of contract

Attorney for the Plaintiff: | Ira Lee Oring, Esq.
Fedder & Garten LLP
10096 Red Run Boulevard, Suite 200
Owings Mills, MD 21117

Title: Tidi Products LLC. v. Insource Supplies LLC

Wisconsin Circuit Court, Winnebago County
Index No. 2023 CV 000459

Nature of Suit: Breach of contract

Attorney for the Plaintiff: | Darrel R. Zall, Esq.
Kohner Mann & Kailas, S.C.
4650 North Port Washington Road
Milwaukee, WI 53212

Title: Insource Supplies LLC v. ADP Logistics

New York Supreme Court, New York County
Index No. 11447/2023

Nature of Suit: Breach of contract
Attorney for the Plaintiff:

Dated: New York, NY
April 1, 2024

Timothy Wedeen, Esq.
Wedeen & Kavangh
15 West 38" Street

4 Floor, Suite 748
New York, NY 10018

Insource Supplies LLC

By:

Name: Eli Bensoussan
Title: Managing Member
ral TAM CAVES (ad colapatelicednercom Ce fate
Debtor name |Insource Supplies LLC
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW L] Check if this is an

YORK

Case number (if known): amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim
complete mailing address, | and email address of (for example, lrade is contingent, | If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code creditor contact debts, bank loans, unliquidated, or | claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff
Acme Paper & Supply Goods and Unliquidated $120,000.00
Co., Inc. Services Disputed

8229 Sandy Court
Savage, MD 20763

Armstrong Teasdale Legal Unliquidated $102,633.02
7 Times Square, 44th Disputed

Floor

New York, NY 10036

CFBank National Trade receivables | Unliquidated $1,500,000.00 $123,893.02 $1,376,106.98
Association Accounts

clo David A. Receivable

Yarmesch, Esq.
Kemp Shaeffer &
Rowe

88 West Mound
Street

Columbus, OH 43215
CIA Medical Goods and Unliquidated $65,000.00
7542 St. Louis Ave. Services Disputed

Skokie, IL 60076
H. Crimson Inc. d/b/a Goods and Unliquidated $0.00
Omni Health Services Disputed
85 Broad Street, 29th
Floor

New York, NY 10004
Internal Revenue For notice Unliquidated Unknown
Service purposes Disputed
Centralized
Insolvency
Operations

PO Box 7346
Philadelphia, PA
19101-7346
Landed PPE Goods and $17,137.00
17290 Preston Road Services
Suite 3001
Dallas, TX 75252

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

Software Copyright (c) 1996-2024 Besl Case. LLC - www.bestcase.com Best Case Bankruptcy
Debtor

Insource Supplies LLC

Name

Case number (if known)

Name of creditor and
complete mailing address,
including zip code

Name, telephone number
and email address of
creditor contact

Nature of claim
(for example, trade
debts, bank loans,

Indicate if claim
is contingent,
unliquidated, or

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total clam amount and deduction for

professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff
Luxe Medical Group Goods and $24,821.66
11329 S. Harlem Services
Avenue
Worth, IL 60482
NYS Department of For notice Unliquidated Unknown
Taxation purposes Disputed
Bankruptcy/Special
Procedure
PO Box 5300
Albany, NY 12205
One Dash Corp. Loan $334,623.47
218 S. Brand Blvd.
San Fernando, CA
91340
Scott Pearlzweig CPA Professional Unliquidated $12,000.00
100 Ryders Lane Services
Suite 5-245
Milltown, NJ 08850
State of New Jersey For notice Unliquidated Unknown
Dep't of Taxation PO purposes Disputed
Box 264
Trenton, NJ
08695-0264
Tidi Products Gocds and Disputed $130,000.00
570 Enterprise Drive Services
Neenah, WI 54956
Unitedhealthcare Goods and Disputed $30,000.00
Services Services
c/o Vitaly Vilenchik,
Esq.
Hinshaw &
Culbertson LLP
800 Third Avenue,
13th Floor
New York, NY 10022
Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 2

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Best Case Bankruptcy

ULM Mem tancoltuets Co dam Cole (Ul taal Cir: ie

Debtorname Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

1 Check if this is an
amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12115

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a Declaration and signature

lam the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
Other document that requires a declaration

| declare under penalty of perjury that the foregoing is “ae
Executed on April 1, 2024 x A

i of individual signing on behalf of debtor

OBO MM bX

El! Bensoussan
Printed name

Managing Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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PTT alceyaeaeeL Cola M come (ULL a ak Ot led er Lom

Debtorname _Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ja. Real property:
Copy line 88 from Schedule A/B...... .ecsceccssseccecesrscessseerecenssersesesenencsesenasevassecsscesssesesesenseesesesesssesececatasenacienseseenciees $ 0.00

1b. Total personal property:
Copy line 91A from Schedule A/B........eccceccecsecescesserseessecensssnenencneseseseanseseasiceeseceseenetivetesiniseesenseerenenerersestaananes $ 189,773.18

1c. Total of all property:
Copy line 92 from Schedule A/B.......20:0200c0.ccccccssseetssseeensateerassesesssascisesnseeneveneesoneneaevgneevanssyaneecenanseeetsinensanesunnensens $ 189,773.18

Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Du... eects $ 1,500,000.00

3. | Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F.........c.ccccececsccoesssenesenenesenensneensnanenteeanerssansnensnceee $ 0.00

3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule EVF......c.cccccccctectccceessecnueesscneenenaness +$ 836,215.15

4. Total liabilities 0.000. cc ceccceceecececeesercnenceesesceceecnecseseaeeeecesesesnieeeaseessacaeueesaseseerageseseneseeseeseneeaeeseeesseaneeseeeeraneens
Lines 2 + 3a+ 3b $ 2,336,215.15

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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Debtorname Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

O Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12115

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form, At the top of any pages added, write
the debtor's name and case number (If known). Also Identify the form and line number to which the additional Information applies. If an
additional sheet Is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the detalls for each asset in a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured clalms. See the instructions to understand the terms used In this form.

Cash and cash equivalents

1, Does the debtor have any cash or cash equivalents?

LINo. Goto Part 2,
Yes Fill in the information below.
All cash or cash equivalents owned or controlled by the debtor Current value of

debtor's Interest

3. Checking, savings, money market, or financial brokerage accounts (Identify all)
Name of Institution (bank or brokerage firm) Type of account Last 4 digits of account
number

3.1. JPMorgan Chase Bank Business Savings 0895 $11,200.36

4. Other cash equivalents (/dentify all)

5. Total of Part 4. $11,200.36

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

BINo. Goto Part3.
CJ Yes Fill in the information below.

Accounts receivable
10, Does the debtor have any accounts receivable?

CINo. Goto Part 4.
&] Yes Fill in the information below,

11, Accounts recelvable

11a. 90 days old or less: 123,893.02 - 0.00 =... $123,893.02
face amount doubtful or uncollectible accounts

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
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Debtor Insource Supplies LLC Case number (if known)
Name

11b. Over 90 days old: 321,904.50 - 321,904.50 =... $0.00
face amount doubtful or uncollectible accounts

12. Total of Part 3. $123,893.02
Current value on lines 11a+11b= line 12. Copy the total to line 82.
Investments
13. Does the debtor own any investments?
KI No. Go to Part 5.
O Yes Fill in the information below.
Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?
LINo. Goto Parté6.
K] Yes Fill in the information below.
General description Date of the last Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor's interest
(Where available)
19. Raw materials
20. Work in progress
Pending orders subject to
fulfillment $781,000.00 TBD
21, Finished goods, including goods held for resale
Medical supplies - in
litigation $54,679.80 ADP Logistics $54,679.80
22. Other inventory or supplies
23. Total of Part 5. $54,679.80
Add lines 19 through 22. Copy the total to line 84.
24, Is any of the property listed in Part 5 perishable?
KI No
O Yes
25, Kn any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
KI No
C1 Yes. Book value Valuation method Current Value
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
KI No
OYes
Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
KI No. Go to Part 7.
CJ Yes Fill in the information below.
Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectlbles?
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor Insource Supplies LLC Case number (if known)

Name

{J No. Go to Part 8.
0 Yes Fill in the Information below.

Machinery, equipment, and vehicles

46. Does the debtor own or jease any machinery, equipment, or vehicles?

No. Goto Part 9.
CI Yes Fill in the information below.

EEE 82 ropery

54. Does the debtor own or lease any real property?

EI No. Go to Part 10.
CJ Yes Fill in the Information below.

Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?

BJ No. Go to Part 11.
0 Yes Fill in the information below.

ees All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.

I No. Go to Part 12.
(1 Yes Fill in the information below,

Official Form 206A/B Schedule A/B Assets - Real and Personal Property

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page 3
Best Case Bankruptey
Debtor Insource Supplies LLC

Name

EEE surmary

In Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91,

92.

Official Form 206A/B

Case number (if known)

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy fine 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy fine 51, Part 8.

Real property. Copy line 56, Part 9.0... ecssessescnsecseacsaceceeseecenteees

Intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Current value of
personal property

$11,200.36

$0.00

$123,893.02

$0.00

$54,679.80

$0.00

$0.00

$0.00

Total. Add lines 80 through 90 for each column

$189,773,18

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Current value of real
property

$0.00

+ 91b.

$0.00

$189,773.18

Schedule A/B Assets - Real and Personal Property

page 4
Best Case Bankruptcy
ILM Am UM Noy MuirelColamcom (eC ali lava dal eM er: toto

Debtor name Insource Supplies LLC

Case number (if known)

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

O

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

Check if this is an
amended filing

12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
[CI No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
KX! Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

2. List In alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.

| 24 | CFBank National Association

Column A

Amount of claim

Do not deduct the value
of collateral.

Describe debtor's property that is subject to a lien

Creditor's Name

clo David A. Yarmesch, Esq.
Kemp Shaeffer & Rowe

88 West Mound Street
Columbus, OH 43215

$1,500,000.00

Column B

Value of collateral
that supports thls
claim

$123,893.02

Trade receivables; Accounts Receivable

Creditor's mailing address

Describe the lien

UCC-1
Is the creditor an Insider or related party?

EI No

Creditor's email address, if known
Date debt was incurred

Last 4 digits of account number

O Yes

Is anyone else liable on this claim?

DONo

I Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Do multiple creditors have an
Interest in the same property?

EI No

0 Yes. Specify each creditor,
including thls creditor and its relative
priority.

As of the petition filing date, the claim is:
Check all that apply

(1 Contingent

El Unliquidated

1 Disputed

4, Total of the dollar amounts from Part 1, Column A, Including the amounts from the Additional Page, if any.

List Others to Be Notified for a Debt Already Listed in Part 1

$1,500,000.0
0

List in alphabetical order any others who must be notified for a debt already listed In Part 1, Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed In Part 1, do not flll out or submit this page. If additional pages are needed, copy thls page.
On which line in Part 1 did you
enter the related creditor?

Name and address

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

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Last 4 digits of
account number for
this entity

page 1 of 1
Best Case Bankruptcy
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Debtorname _Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

O Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured clalms and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries In Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fll out and attach the Additional Page of that Part included in thls form.

List All Creditors with PRIORITY Unsecured Claims

. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507),

OI No. Go to Part 2.
I Yes. Go to line 2.

with priority unsecured claims, fill out and attach the Additional Page of Part 1.

Priority creditor's name and mailing address

Internal Revenue Service
Centralized Insolvency Operations
PO Box 7346

Philadelphia, PA 19101-7346

Date or dates debt was incurred

As of the petition filing date, the claim is:

Check all that apply.
D1 Contingent

B Unliquidated

KJ Disputed

Basis for the claim:
For notice purposes

2. List In alphabetical order all creditors who have unsecured claims that are entitled to priority In whole or In part. If the debtor has more than 3 creditors

Total clalm Priority amount

Unknown Unknown

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured clalm: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
BI No
O Yes

Priority creditor's name and mailing address

NYS Department of Taxation
Bankruptcy/Special Procedure
PO Box 5300

Albany, NY 12205

Date or dates debt was incurred

As of the petition filing date, the claim is:

Check aif that apply.
O Contingent

B&W Untiquidated
KK Disputed

Basis for the claim:
For notice purposes

Unknown Unknown

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured clalm: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
KI No
O Yes

Priority creditor's name and mailing address

State of New Jersey
Dep't of Taxation PO Box 264
Trenton, NJ 08695-0264

Date or dates debt was Incurred

As of the petition filing date, the claim is:

Check ail that apply.
O1 Contingent
Unliquidated

I Disputed

Basls for the claim:
For notice purposes

Unknown Unknown

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured clalm: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
KI No
O Yes

List All Creditors with NONPRIORITY Unsecured Claims

Official Form 206E/F
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3. List In alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 3
Best Case Bankruptcy
Debtor _Insource Supplies LLC

Case number (if known)

Name

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the clalm is: Check aif that apply. $120,000.00
Acme Paper & Supply Co., Inc. .
8229 Sandy Court L) Contingent
EI Unliquidated
Savage, MD 20763 Bd Disputed
Date(s) debt was incurred _ Basis for the claim: Goods and Services
Last 4 digits of account number _ Is the claim subject to offset? BJNo [1 Yes
Nonpriorlty creditor's name and malling address As of the petition flling date, the clalm Is: Check aif that apply. $102,633.02
Armstrong Teasdale
7 Times Square, 44th Floor L) Contingent
EQ Unliquidated
New York, NY 10036 Bd Disputed
Date(s) debt was incurred _ Basis for the clalm: Legal
Last 4 digits of account number _ Is the claim subject to offset? EJNo [1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $65,000.00
CIA Medical
7542 St. Louis Ave.
CJ Contingent
. EY Unliquidated
Skokie, IL 60076 Bd Disputed
Date(s) debt was incurred _ Basis for the claim: Goods and Services
Last 4 digits of account number _ Is the claim subject to offset? EINo (1 Yes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Check aif that appiy. Unknown
H. Crimson Inc. d/b/a Omni Health
85 Broad Street, 29th Floor L] Contingent
KJ Unliquidated
New York, NY 10004 Ba Disputed
Date(s) debt was incurred _ Basis for the claim:_Goods and Services
Last 4 digits of account number _ Is the claim subject to offset? EJNo [1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Chack aif thal apply. $17,137.00
Landed PPE
17290 Preston Road C1 contingent
ontingen
Suite 3001 C1 unliquidated
Dallas, TX 75252 CD Disputed
Date(s) debt was Incurred _ Basis for the claim: Goods and Services
Last 4 diglts of account number _ Is the claim subject to offset? EJNo 1] Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $24,821.66
Luxe Medical Group
41329 S. Harlem Avenue L) Contingent
0 Unliquidated
Worth, IL 60482 CO Disputed
Date(s) debt was incurred _ Basls for the claim: _Goods and Services
Last 4 digits of account number _ Is the claim subject to offset? EKINo (1 Yes
Nonpriority creditor's name and mailing address As of the petition fillng date, the claim is: Check aif thal apply. $334,623.47
One Dash Corp.
218 S. Brand Blvd. [7 Contingent
(1 Unliquidated
San Fernando, CA 91340 (1 Disputed
Date(s) debt was Incurred __ Basis for the claim: Loan
Last 4 digits of account number _ Is the claim subject to offset? EJNo [1 Yes
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Clalms Page 2 of 3

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Best Case Bankruptcy
Debtor Insource Supplies LLC Case number (if known)
Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $12,000.00
Scott Pearlzweig CPA
100 Ryders Lane
Suite 5-245 E] Contingent
: EX] Unliquidated
Milltown, NJ 08850 (1 Disputed
Date(s) debt was incurred _ Basis for the claim: Professional Services
Last 4 digits of account number _ Is the claim subject to offset? BYNo [Yes
Nonpriority creditor's name and malling address As of the petition filing date, the claim is: Chack aif that apply. $130,000.00
Tidi Products
570 Enterprise Drive L] Contingent
0 Unliquidated
Neenah, WI 54956 El Disputed
Date(s) debt was incurred _ Basis for the claim:_Goods and Services
Last 4 digits of account number _ Is the claim subject to offset? EJNo (1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ai! that apply. $30,000.00

Unitedhealthcare Services
c/o Vitaly Vilenchik, Esq.
Hinshaw & Culbertson LLP
800 Third Avenue, 13th Floor
New York, NY 10022

Date(s) debt was incurred _

Last 4 digits of account number __

D0 Contingent

D0 Unliquidated

KJ Disputed

Basis for the claim: Goods and Services
Is the claim subject to offset? KINo OO Yes

[GEtLee List Others to Be Notified About Unsecured Claims

4, List In alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,

assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit thls page. If additional pages are needed, copy the next page.

Name and mailing address On which line in Part1 or Part 2 is the Last 4 diglts of
related creditor (if any) listed? account number, if
any
41 Darrel R. Zall, Esq
.Kohner Mann & Kailas, S.C. Line 3.9. _
4650 North Port Washington Road /
Milwaukee, WI 53212 | Notlistedsexplain =
4.2 Harlan M. Lazarus, Esq.
Lazarus & Lazarus, P.C. Line 3.4 _
240 Madison Avenue, 8th Floor / :
New York, NY 10016 OL Notlisted. Explain.
4.3 Ira Lee Oring, Esq.
Fedder & Garten LLP Line 3.4 -
10096 Red Run Boulevard, Suite 200 fe) NeMEEErEL SEI
Owings Mills, MD 21117 of listed. Explain __
GEGZEM Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
Total of clalm amounts
5a. Total claims from Part 1 5a. 0.00
5b. Total claims from Part 2 Sb. + $ 836,215.15
5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c. 5c, $ 836,215.15
Official Form 206 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 3

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Debtor name Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

OJ Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 42/45

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?

No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

K] Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1, State what the contract or Supply agreement

lease is for and the nature of
the debtor's interest

State the term remaining
Astor Pharmaceutical

List the contract number of any 665 Union Avenue
government contract Holtsville, NY 11742
Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Sata EMA MetreL Cede m Com (e (Dna an SaLCM cr- Kor

Debtorname _Insource Supplies LLC

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW YORK

Case number (if known)

O Check if this is an
amended filing

Official Form 206H
Schedule H: Your Codebtors 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

CI No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

Kl Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check aif schedules
that apply:
2.1. Eli Bensoussan 252 South Street, No. 69E CFBank National KID_ 2.1
New York, NY 10002 Association OO E/F
OG___
2.2 Eli Bensoussan 252 South Street, No. 69E One Dash Corp. OD
New York, NY 10002 KIE/F 3.7
OG__
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

Software Copyright (c) 1996-2024 Bast Case, LLC - www.bestcase.com Best Case Bankruptcy
United States Bankruptcy Court
Southern District of New York

Inre _Insource Supplies LLC Case No.
Debtor(s) Chapter 11

VERIFICATION OF CREDITOR MATRIX

I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.

Date: — April 1, 2024

Eli Be oussan/Managing Member
Signer/Title

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